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                                               April 14, 2020
 By ECF
 Hon. Vernon S. Broderick, U.S.D.J.
 United States Courthouse
 40 Foley Square, Room 415
 New York, NY 10007
 Re:    Michael Grecco Prods., Inc. et al. v. Guardian News and Media LLC, No.
        1:19-cv-05672-VSB: Joint Letter – re Letter Motion to Re-Open Case

 Dear Judge Broderick:
        We represent the plaintiffs, Michael Grecco Productions, Inc, and Michael Grecco in the
captioned matter. We are submitting this letter pursuant to the April 13th court order “The
parties are directed to file a joint letter by Wednesday April 15,2020, updating the court as to the
status of the wire transfer and payment of settlement.”

         This matter reached a settlement, which was handwritten and signed on February 13th,
 2020. Pursuant to that binding settlement ( a typed version is attached, as well photos of the
 handwritten pages), defendants were required to make a $25,000 payment within 30 days, last
 Saturday. Sadly, this payment was not made, despite assurance that the payment was
 “processing” as of Monday March 10th, 2020. The wire payment was apparently sent on
 March 10th, but because of errors by the payor and/or their counsel, it was not received, and
 only after multiple phone calls and emails with banks and opposing counsel was the missing
 payment traced and found.
        From March 16th, the first business day after the March 14th deadline, until payment
 was received on April 1st/2nd 2020, multiple phone calls to the receiving bank regarding the
 incoming wire were required. In addition, multiple emails with the payor and their counsel
 were required to trace the missing wire payment and resolve the issue.
       We discovered in email correspondence that despite the fact that payor’s counsel was
informed promptly of the missing payment, the payor themselves were not informed to trace the
payment until Monday March 23nd, a week after I informed counsel of the missing payment. (“I
can see that we were made aware that the payment had not been received by yourself at 17:08 on
Monday 23rd March.” Email of Tamara Humer, P2P Team Leader, Guardian News & Media
Ltd.) This caused at least a week of delay,

       Finally, we discovered in this process that the wire payment was sent incorrectly, despite
confirmation of the payee information by payor’s counsel. Payor’s counsel had confirmed the
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wire instructions, as ““Stuart Weichsel, Stropheus LLC IOLA Trust Account”, while the payor
had used the wire instruction line: STROPHEUSLLC at Bank of America N.A.” Without either
the attorney name or the words trust account, the receiving bank could not confirm the
assignment of the payment to the correct account (multiple accounts exist in the law firm name.)

       In summary, while the payment was initiated in a timely fashion, the errors by both the
payor and payor’s counsel caused by additional legal costs and delay in receiving the payment.
This delay was material to the plaintiffs.

       We request that additional compensation be awarded for the additional legal time
required due to these errors and the resulting time and legal cost to my client.

        Please find enclosed my supporting invoice for $4,445 at my usual hourly rate. In order
to resolve this matter, I ask the court for an additional $3,000 for the legal time incurred in
pursuing and resolving this matter. This is a reasonable resolution of the legal costs (and client
aggravation).

       Counsel for Defendants states:




                                              Respectfully yours,

                                              / signed /

                                              Stuart Weichsel,
                                              Stropheus Law, for Plaintiffs

cc:    Counsel of record via ECF
